
















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. AP-74,430






STEVEN MICHAEL WOODS, Appellant



v.



THE STATE OF TEXAS






APPEAL FROM


DENTON COUNTY






	Womack, J., filed a dissenting opinion.



	I do not agree with the court's decision that the error of admitting the appellant's
confession to committing the murder of Beau Sanders was harmless.

	The court says it is unlikely that the erroneously admitted confession had a substantial
and injurious effect on the punishment verdict. Ante, at 26. 

	The punishment stage of a capital trial will happen after a defendant has been found
guilty of committing a capital crime. The question for the jury is whether to find, beyond a
reasonable doubt, that the defendant probably will commit more criminal acts of violence that
will constitute a danger to society. A defendant's confession that he already has committed a
second murder is a very powerful piece of evidence. I could not find it unlikely that the erroneous
admission of such evidence had no substantial effect on the jury's decision.

	The court says, first, that Michael Cavin and Stephen Price testified that the appellant was
involved in the murder of Sanders, and that he was involved to a greater degree than he confessed. Id., at 24. But this ignores the difference between a confession and the testimony of those
individuals. A confession is a statement against penal interest, and it is viewed as reliable. The
testimony of Cavin and Price, without the confession, would have carried less weight.

	The court says that there was other evidence at the punishment stage. The appellant
"planned" to commit two other crimes: stealing money from a clothing store and killing a woman
during a drug transaction. Id., at 25. But plans are not deeds.

	The court adds to the list of evidence the appellant's offer to give the police more
information about Sanders's murder. The court seems to accept the State's argument that this
was evidence of bad character. Until now, I had thought it would be recognized by every law-abiding person, to say nothing of a prosecutor and a court, that helping the investigation of a
murder was a good thing and that "omerta" was the ethic of organized crime.

	I would reverse the sentence of death and remand the case for another hearing on
punishment.


En banc.

Filed December 15, 2004.

Publish.


